8:04-cr-00302-LSC-FG3          Doc # 165      Filed: 07/07/05     Page 1 of 2 - Page ID # 459




                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                              Plaintiff,            )       8:04CR302
                                                    )
                      vs.                           )       FINAL ORDER OF
                                                    )       FORFEITURE
                                                    )
JAVIER CRUZ-NARANJO and                             )
JOZABET CASTRO-GARZON,                              )
                                                    )
                              Defendants.           )

       This matter comes before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 164). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On May 10, 2005, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 21, United States Code, Sections 846, 841(a)(1), 841(b)(1) and

853, based upon the Defendant, Javier Cruz-Naranjo’s, plea of guilty to Counts I, II, III and

IV of the Indictment filed herein and the Defendant, Jozabet Castro-Garzon, being found

guilty of Count I by a jury. By way of said Preliminary Order of Forfeiture, the Defendants’

interest in $12,500.00 in United States currency was forfeited to the United States.

       2. On May 26, June 2 and 9, 2005, the United States published in a newspaper of

general circulation notice of this forfeiture and of the intent of the United States to dispose

of the property in accordance with the law, and further notifying all third parties of their right

to petition the Court within the stated period of time for a hearing to adjudicate the validity

of their alleged legal interest(s) in said property. An Affidavit of Publication was filed herein

on July 6, 2005 (Filing No. 163).
8:04-cr-00302-LSC-FG3          Doc # 165     Filed: 07/07/05    Page 2 of 2 - Page ID # 460




       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 164) is hereby

sustained.

       B.     All right, title and interest in and to the subject property, i.e., $12,500.00 in

United States currency, held by any person or entity, is hereby forever barred and

foreclosed.

       C. The subject property, i.e., $12,500.00 in United States currency, be, and the

same hereby is, forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of

said property in accordance with law.

       DATED this 7th day of July, 2005.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
